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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §    CRIMINAL NO. H-06-422
                                             §
ARNULFO REYES DURATE and                     §
HUGO BARRERA-CAVAZOS                         §

                                        ORDER

       Defendant Arnulfo Reyes Duarte has filed a motion for continuance. (Docket Entry

No. 53). Co-defendant Hugo Barrera-Cavazos is unopposed to the motion. The court finds

that the interests of justice are served by granting the continuance and that those interests

outweigh the interests of the public and the defendants in a speedy trial. The motion is

granted. The pretrial conference is reset to November 3, 2008, at 8:45 a.m. The jury trial

and selection are reset to November 12, 2008, at 9:00 a.m.


              SIGNED on July 30, 2008, at Houston, Texas.


                                            ______________________________________
                                                       Lee H. Rosenthal
                                                  United States District Judge
